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                      EXHIBIT 1
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          STATE OF NEW YORK
          SUPREME COURT : COUNTY OF ERIE


          BRANDON G. BAUMEISTER
          127 6th Avenue
          Lancaster, New York 14086                           SUMMONS

                                      Plaintiff
          vs.                                                 Index No.

          ERIE COUNTY
          95 Franklin Street, Room 1634
          Buffalo, New York 14202

          SHERIFF JOHN C. GARCIA, in his Official and
          Individual Capacity as Sheriff of Erie County
          10 Delaware Avenue
          Buffalo, New York 14202

          CITY OF BUFFALO
          1100 City Hall
          65 Niagara Square
          Buffalo, New York 14202

          BUFFALO POLICE DEPARTMENT
          68 Court Street
          Buffalo, New York 14202

          NIAGARA COUNTY
          175 Hawley Street
          Lockport, New York 14094

          SHERIFF MICHAEL J. FILICETTI, in his Official and
          Individual Capacity as Sheriff of Niagara County
          5526 Niagara Street Ext.
          Lockport, New York 14094

          CITY OF NIAGARA FALLS
          745 Main Street
          Niagara Falls, New York 14301

          NIAGARA FALLS POLICE DEPARTMENT
          1925 Main Street
          Niagara Falls, New York 14305

          VILLAGE OF LEWISTON



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         145 N. 4th Street
         Lewiston, New York 14092

         TOWN OF LEWISTON
         1375 Ridge Road
         Lewiston, New York 14092

         LEWISTON POLICE DEPARTMENT
         4059 Creek Road
         Youngstown, New York 14174

         DEPUTY NICHOLAS CERVONI
         10 Delaware Avenue
         Buffalo, New York 14202

         DEPUTY JUSTIN BAUER
         10 Delaware Avenue
         Buffalo, New York 14202

         DEPUTY PAUL KIEFFER
         10 Delaware Avenue
         Buffalo, New York 14202

         DEPUTY DAVID LISKIEWICZ
         10 Delaware Avenue
         Buffalo, New York 14202

         DEPUTY ROBERT LAZARCYZK
         10 Delaware Avenue
         Buffalo, New York 14202

          DEPUTY KUHN (FIRST NAME UNKNOWN)
          10 Delaware Avenue
          Buffalo, New York 14202

          DEPUTY ELLIS (FIRST NAME UNKNOWN)
          10 Delaware Avenue
          Buffalo, New York 14202

          SERGEANT CHRISTOPHER SOLURI
          10 Delaware Avenue
          Buffalo, New York 14202

          POLICE OFFICER JONATHAN EMMONS
          4059 Creek Road
          Youngstown, New York 14174


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         POLICE OFFICER JOSHUA BELIN
         4059 Creek Road
         Youngstown, New York 14174

          CAPTAIN MICHAEL SALADA
          4059 Creek Road
          Youngstown, New York 14174

          LIEUTENANT SEAN FUREY
          5526 Niagara Street Ext.
          Lockport, New York 14094

          DEPUTY JAMES VILLANI
          5526 Niagara Street Ext.
          Lockport, New York 14094

          DEPUTY JUSTIN SCHWARZMUELLER
          5526 Niagara Street Ext.
          Lockport, New York 14094

          DEPUTY MARYLYNN STEPHENSON
          5526 Niagara Street Ext.
          Lockport, New York 14094

          POLICE OFFICER ADAM MOEN
          c/o New York State Police
          1220 Washington Street, Bldg 22
          Albany, New York 12226

          POLICE OFFICER MICHAEL A. KIDDER, JR.
          c/o New York State Police
          1220 Washington Street, Bldg 22
          Albany, New York 12226

          JOHN DOE #1-20 (said Erie County supervisor(s) and/or
          Erie County Sheriff Office supervisor(s) or employee(s),
          said Niagara County supervisor(s) and/or Niagara County
          Sheriff Department supervisor(s) or employee(s), said City of
          Buffalo supervisor(s) and/or Buffalo Police Department supervisor(s)
          or employee(s), said City of Niagara Falls supervisor(s) and/or
          Niagara Falls Police Department supervisor(s) or employee(s),
          said Village of Lewiston supervisor(s), Town of Lewiston supervisor(s)
          and/or Lewiston Police Department supervisor(s) or employee(s))


                                       Defendants.




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         TO THE ABOVE-NAMED DEFENDANTS:

                 YOU ARE HEREBY SUMMONED to answer the Complaint in this action and to serve a
         copy of your answer, or, if the Complaint is not served with this Summons, to serve a notice of
         appearance, on the Plaintiff's Attorneys within TWENTY (20) DAYS after the service of this
         Summons, exclusive of the day of service (or within THIRTY (30) DAYS after the service is
         complete if this Summons is not personally delivered to you within the State of New York); and in
         case of your failure to appear or answer, judgment will be taken against you by default for the relief
         demanded in the Complaint.

                Erie County is designated as the place of trial on the basis of residence of Plaintiff who resides
         in Lancaster, New York.

         DATED:          Buffalo, New York
                         September ILI , 2023

                                                         LIPSITZ GREEN SCIME CAMBRIA LLP


                                                         By:    Ulf        )
                                                             ROBERT M. CORP E Q.
                                                         Attorneys for Plaintiff
                                                         42 Delaware Avenue, Suite 120
                                                         Buffalo, New York 14202-3924
                                                         (716) 849-1333




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         STATE OF NEW YORK
         SUPREME COURT: COUNTY OF ERIE


         BRANDON G. BAUMEISTER,
                              Plaintiff,                           COMPLAINT

         VS.
                                                                   Index No.
         ERIE COUNTY,
         SHERIFF JOHN C. GARCIA, in his Official and
         Individual Capacity as Sheriff of Erie County,
         CITY OF BUFFALO,
         BUFFALO POLICE DEPARTMENT,
         NIAGARA COUNTY,
         SHERIFF MICHAEL J. FILICETTI, in his Official and
         Individual Capacity as Sheriff of Niagara County,
         CITY OF NIAGARA FALLS,
         NIAGARA FALLS POLICE DEPARTMENT,
         VILLAGE OF LEWISTON,
         TOWN OF LEWISTON,
         LEWISTON POLICE DEPARTMENT,
         DEPUTY NICHOLAS CERVONI,
         DEPUTY JUSTIN BAUER,
         DEPUTY PAUL KIEFFER
         DEPUTY DAVID LISKIEWICZ,
         DEPUTY ROBERT LAZARCYZK,
         DEPUTY KUHN (FIRST NAME UNKNOWN),
         DEPUTY ELLIS (FIRST NAME UNKNOWN)
         SERGEANT CHRISTOPHER SOLURI,
         POLICE OFFICER JONATHAN EMMONS,
         POLICE OFFICER JOSHUA BELIN,
         CAPTAIN MICHAEL SALADA
         LIEUTENANT SEAN FUREY,
         DEPUTY JAMES VILLANI,
         DEPUTY JUSTIN SCHWARZMUELLER,
         DEPUTY MARYLYNN STEPHENSON,
         POLICE OFFICER ADAM MOEN,
         POLICE OFFICER MICHAEL A. KIDDER, JR.,
         JOHN DOE #1-20 (said Erie County supervisor(s) and/or
         Erie County Sheriff Office supervisor(s) or employee(s),
         said Niagara County supervisor(s) and/or Niagara County
         Sheriff Department supervisor(s) or employee(s), said City of
         Buffalo supervisor(s) and/or Buffalo Police Department supervisor(s)




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         or employee(s), said City of Niagara Falls supervisor(s) and/or
         Niagara Falls Police Department supervisor(s) or employee(s),
         said Village of Lewiston supervisor(s), Town of Lewiston supervisor(s)
         and/or Lewiston Police Department supervisor(s) or employee(s))


                                Defendants.



                 Plaintiff, BRANDON G. BAUMEISTER, ("Plaintiff') by his attorneys, LIP SITZ GREEN

         SCIME CAMBRIA LLP, for his complaint against Defendants, alleges:


                                                         PARTIES

                 1.     Plaintiff, at all times hereinafter mentioned was and still is a resident of the Town

         of Lancaster located within the County of Erie and the State of New York.

                 2.     Defendant, ERIE COUNTY, is a municipal corporation duly organized and existing

         under and pursuant to the laws of the State of New York.

                 3.     ERIE COUNTY SHERIFF JOHN C. GARCIA ("Garcia") is the Sheriff of Erie

          County. Sheriff Garcia is sued in both his individual and official capacity. Upon information and

         belief, as acting Sheriff of the County of Erie, the Defendant, Sheriff Garcia, was in charge of the

         polices, training, and supervision of police in Erie County. Sheriff Garcia is sued in both his

         individual and official capacity.

                 4.     Upon information and belief, at all times hereinafter mentioned, Defendant Garcia

         was acting within his authority as an Erie County Sheriff and acting under color of state law.

                 5.      Defendant, CITY OF BUFFALO, is a municipal corporation duly organized and

          existing under and pursuant to the laws of the State of New York.




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                 6.      Defendant BUFFALO POLICE DEPARTMENT ("BPD") is a municipal

         corporation duly organized and existing under and pursuant to the laws of the State of New York.

                 7.      Defendant NIAGARA COUNTY is a municipal corporation duly organized and

         existing under and pursuant to the laws of the State of New York.

                 8.      Defendant MICHAEL J. FILICETTI ("Filicetti") is the Sheriff of Niagara County.

         Sheriff Filicetti is sued in both his individual and official capacity. Upon information and belief,

         as acting Sheriff of the County of Niagara, the Defendant, Sheriff Filicetti, was in charge of the

         polices, training, and supervision of police in Niagara County. Sheriff Filicetti is sued in both his

         individual and official capacity.

                 9.      Defendant CITY OF NIAGARA FALLS is a municipal corporation duly organized

         and existing under and pursuant to the laws of the State of New York.

                 10.     Defendant NIAGARA FALLS POLICE DEPARTMENT ("NFPD") is a municipal

         corporation duly organized and existing under and pursuant to the laws of the State of New York.

                 11.     Defendant VILLAGE OF LEWISTON is a municipal corporation duly organized

         and existing under and pursuant to the laws of the State of New York.

                 12.     Defendant TOWN OF LEWISTON, is a municipal corporation duly organized and

         existing under and pursuant to the laws of the State of New York.

                 13.     Defendant LEWISTON POLICE DEPARTMENT ("LPD") is a municipal

          corporation duly organized and existing under and pursuant to the laws of the State of New York.

                 14.     Upon information and belief, at all times herein mentioned, Defendant Deputy

          Nicholas Cervoni, was and still is a resident of the County of Erie and the State of New York.




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                 15.    Upon information and belief, at all times herein mentioned, Defendant Deputy Justin

         Bauer, was and still is a resident of the County of Erie and/or County of Niagara and the State of New

         York.

                 16.    Upon information and belief, at all times herein mentioned, Defendant Deputy Paul

         Kieffer, was and still is a resident of the County of Erie and/or County of Niagara and the State of

         New York.

                 17.    Upon information and belief, at all times herein mentioned, Defendant Deputy David

         Liskiewicz, was and still is a resident of the County of Erie and the State of New York.

                 18.    Upon information and belief, at all times herein mentioned, Defendant Deputy Robert

         Lazarcyzk, was and still is a resident of the County of Erie and the State of New York.

                 19.    Upon information and belief, at all times herein mentioned, Defendant Deputy Kuhn,

         was and still is a resident of the County of Erie and/or County of Niagara and the State of New York.

                 20.    Upon information and belief, at all times herein mentioned, Defendant Deputy Ellis,

         was and still is a resident of the County of Erie and the State of New York.

                 21.    Upon information and belief, at all times herein mentioned, Defendant Sergeant

         Christopher Soluri, was and still is a resident of the County of Erie and/or County of Niagara and the

         State of New York.

                 22.     Upon information and belief, at all times herein mentioned, Defendant Police Officer

         Jonathan Emmons, was and still is a resident of the County of Niagara and the State of New York.

                 23.     Upon information and belief, at all times herein mentioned, Defendant Police Officer

         Joshua Belin, was and still is a resident of the County of Niagara and the State of New York.

                 24.     Upon information and belief, at all times herein mentioned, Defendant Captain

         Michael Salada, was and still is a resident of the County of Niagara and the State of New York.
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                25.     Upon information and belief, at all times herein mentioned, Defendant Lieutenant

         Sean Furey, was and still is a resident of the County of Niagara and the State of New York.

                26.     Upon information and belief, at all times herein mentioned, Defendant Deputy James

         Villani, was and still is a resident of the County of Niagara and the State of New York.

                27.     Upon information and belief, at all times herein mentioned, Defendant Deputy Justin

         Schwarzmueller, was and still is a resident of the County of Niagara and the State of New York.

                28.     Upon information and belief, at all times herein mentioned, Defendant Deputy

         Marylynn Stephenson, was and still is a resident of the County of Niagara and the State of New York.

                29.     Upon information and belief, at all times herein mentioned, Defendant Police Officer

         Adam Moen, was and still is a resident of the County of Erie and/or County of Niagara and the State

         of New York.

                30.     Upon information and belief, at all times herein mentioned, Defendant Police Officer

         Michael A. Kidder, Jr., was and still is a resident of the County of Erie and/or County of Niagara and

         the State of New York.

                31.     Upon information and belief, at all times herein mentioned, Defendants, JANE and/or

         JOHN DOE #1-20, were and still are residents of the County of Erie and/or County of Niagara and

         the State of New York. He/she/they are sued in his/her/their individual and official capacities.

                32.     Upon information and belief, at all times hereinafter mentioned, Defendant Deputy

         Nicholas Cervoni, was employed as a Deputy Sheriff by ERIE COUNTY and/or Erie County

         Sheriff's Office and was acting under the color of state law in the capacity of agent, servant, and

         employee of Defendant ERIE COUNTY.

                 33.    Upon information and belief, at all times hereinafter mentioned, Deputy Justin

         Bauer, was employed as a Deputy Sheriff by ERIE COUNTY and/or Erie County Sheriff's Office
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         and was acting under the color of state law in the capacity of agent, servant, and employee of

         Defendant ERIE COUNTY.

                34.    Upon information and belief, at all times hereinafter mentioned, Deputy Paul

         Kieffer, was employed as a Deputy Sheriff by ERIE COUNTY and/or Erie County Sheriff's Office

         and was acting under the color of state law in the capacity of agent, servant, and employee of

         Defendant ERIE COUNTY.

                35.    Upon information and belief, at all times hereinafter mentioned, Defendant Deputy

         David Liskiewicz, was employed as a Deputy Sheriff by ERIE COUNTY and/or Erie County's

         Sheriff Office and was acting under the color of state law in the capacity of agent, servant, and

         employee of Defendant ERIE COUNTY.

                36.    Upon information and belief, at all times hereinafter mentioned, Defendant Deputy

         Robert Lazarcyzk, was employed as a Deputy Sheriff by ERIE COUNTY and/or Erie County's

         Sheriff Office and was acting under the color of state law in the capacity of agent, servant, and

         employee of Defendant ERIE COUNTY.

                37.    Upon information and belief, at all times hereinafter mentioned, Defendant Deputy

         Kuhn, was employed as a Deputy Sheriff by ERIE COUNTY and/or Erie County's Sheriff Office

         and was acting under the color of state law in the capacity of agent, servant, and employee of

         Defendant ERIE COUNTY.

                38.    Upon information and belief, at all times hereinafter mentioned, Defendant Deputy

         Ellis, was employed as a police officer by ERIE COUNTY and/or Erie County Sheriffs Office

         and was acting under the color of state law in the capacity of agent, servant, and employee of

         Defendant ERIE COUNTY.


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                 39.     Upon information and belief, at all times hereinafter mentioned, Defendant

         Sergeant Christopher Soluri, was employed as a Sergeant and Deputy Sheriff by ERIE COUNTY

         and/or Erie County Sheriff's Office and was acting under the color of state law in the capacity of

         agent, servant, and employee of Defendant ERIE COUNTY.

                 40.     Upon information and belief, at all times hereinafter mentioned, Defendant Police

         Officer Jonathan Emmons, was employed as a police officer by Defendants, VILLAGE OF

         LEWISTON, TOWN OF LEWISTON and/or LEWISTON POLICE DEPARTMENT and was

         acting under the color of state law in the capacity of agent, servant, and employee.

                 41.     Upon information and belief, at all times hereinafter mentioned, Defendant Police

         Officer Joshua Belin, was employed as a police officer by Defendants, VILLAGE OF LEWISTON,

         TOWN OF LEWISTON and/or LEWISTON POLICE DEPARTMENT and was acting under the

         color of state law in the capacity of agent, servant, and employee.

                 42.     Upon information and belief, at all times hereinafter mentioned, Defendant Captain

         Michael Salada, was employed as a police officer by Defendants, VILLAGE OF LEWISTON,

         TOWN OF LEWISTON and/or LEWISTON POLICE DEPARTMENT and was acting under the

          color of state law in the capacity of agent, servant, and employee.

                 43.     Upon information and belief, at all times hereinafter mentioned, Defendant

          Lieutenant Sean Furey, was employed as a police officer by Defendants, NIAGARA COUNTY

          and/or NIAGARA COUNTY SHERIFF'S DEPARTMENT and was acting under the color of state

          law in the capacity of agent, servant, and employee of Defendant NIAGARA COUNTY.

                 44.     Upon information and belief, at all times hereinafter mentioned, Defendant Deputy

          James Villani, was employed as a Deputy Sheriff by NIAGARA COUNTY and/or NIAGARA


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         COUNTY SHERIFF'S DEPARTMENT and was acting under the color of state law in the capacity

         of agent, servant, and employee of Defendant NIAGARA COUNTY.

                45.     Upon information and belief, at all times hereinafter mentioned, Defendant Deputy

         Justin Schwarzmueller, was employed as a Deputy Sheriff by Defendants, NIAGARA COUNTY

         and/or NIAGARA COUNTY SHERIFF'S DEPARTMENT and was acting under the color of state

         law in the capacity of agent, servant, and employee of Defendant NIAGARA COUNTY.

                46.     Upon information and belief, at all times hereinafter mentioned, Defendant Deputy

         Marylynn Stephenson, was employed as a Deputy Sheriff by Defendants, NIAGARA COUNTY

         and/or NIAGARA COUNTY SHERIFF'S DEPARTMENT and was acting under the color of state

         law in the capacity of agent, servant, and employee of Defendant NIAGARA COUNTY.

                47.     Upon information and belief, at all times hereinafter mentioned, Defendant Police

         Officer Adam Moen, was employed as a police officer by New York State Police and was acting

         under the color of state law in the capacity of agent, servant, and employee.

                48.     Upon information and belief, at all times hereinafter mentioned, Defendant Police

         Officer Michael A. Kidder, Jr., was employed as a police officer by New York State Police and

         was acting under the color of state law in the capacity of agent, servant, and employee.

                49.     Upon information and belief, at all times hereinafter mentioned, Defendant, JANE

         and/or JOHN DOE #1-20, were supervisors or employees employed by ERIE COUNTY, Erie

         County Sheriff's Office, SHERIFF GARCIA, CITY OF BUFFALO, BUFFALO POLICE

         DEPARTMENT, NIAGARA COUNTY, Niagara County Sheriff's Department, SHERIFF

         FILICETTI, CITY OF NIAGARA FALLS, NIAGARA FALLS POLICE DEPARTMENT,

         VILLAGE OF LEWISTON, TOWN OF LEWISTON or LEWISTON POLICE DEPARTMENT

         and were acting under the color of state law in the capacity of agent, servant, and employee.
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                                                CONDITION PRECEDENT

                50.        On or about the 13th day of December, 2022, a Notice of Claim was served on behalf

         of Plaintiff upon ERIE COUNTY, ERIE COUNTY SHERIFF'S OFFICE, SHERIFF GARCIA,

         CITY OF BUFFALO, BUFFALO POLICE DEPARTMENT, NIAGARA COUNTY, NIAGARA

         COUNTY SHERIFF'S DEPARTMENT, SHERIFF FILICETTI, CITY OF NIAGARA FALLS,

         NIAGARA FALLS POLICE DEPARTMENT, VILLAGE OF LEWISTON, TOWN OF

         LEWISTON, LEWISTON POLICE DEPARTMENT, DEPUTY CERVONI, DEPUTY BAUER,

         DEPUTY KIEFFER, DEPUTY LISKIEWICZ, DEPUTY LAZARCYZK, DEPUTY KUHN,

         DEPUTY ELLIS, SERGEANT SOLURI, POLICE OFFICER JONATHAN EMMONS, POLICE

         OFFICER JOSHUA BELIN, CAPTAIN MICHAEL SALADA, LIEUTENANT FUREY,

         DEPUTY VILLANI, DEPUTY SCHWARZMUELLER, DEPUTY STEPHENSON, POLICE

         OFFICER MOEN, POLICE OFFICER KIDDER, AND JOHN DOE #1-20 in duplicate, within

         ninety (90) days of the date upon which the claim arose. At least thirty (30) days have elapsed

         since the service of the notice of claim, and Defendants have failed and neglected to adjust or pay

         the said claim.

                                                            FACTS


                51.        Upon information and belief, the Defendants ERIE COUNTY and SHERIFF

         GARCIA maintained, operated, managed, controlled and staffed the Erie County Sherriff s Office

         and its sheriffs, and were responsible for the pervasive and entrenched pattern of misconduct by

         the Erie County Sheriff's Office ("ECSO") relating to utilizing force without justification,

         including the use of excessive force in effectuating arrests, including a failure of the Defendant

         ERIE COUNTY and Sheriff GARCIA to disciple officers that engage in misconduct, including

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         the failure to discipline officers who use force without justification, and exonerating officers who

         use excessive force.

                52.     Upon information and belief, at all timers hereinafter mentioned, ERIE COUNTY

         and/or SHERIFF GARCIA were responsible for the supervision, administration, policy practices,

         procedures and customs of the ECSO, and are responsible for the hiring, training, disciple and

         control of ECSO staff.

                53.     At all times hereinafter mentioned and in all their actions described herein,

         Defendants pursuant to the authority vested in the employees, servants and agents of ECSO, were

         acting under the color of that statutes, ordinances, regulations, policies, customs and usages of the

         ECSO and ERIE COUNTY and under color of state law.

                54.     At all times hereinafter mentioned and in all their actions described herein, the

         employees, servants, agents and deputies of ECSO were acting within the scope of their

         employment and incidental to their otherwise lawful duties and functions.

                 55.     Upon information and belief, the Defendants NIAGARA COUNTY and SHERIFF

         FILICETTI maintained, operated, managed, controlled and staffed the Niagara County Sherriff s

         Department and its sheriffs, and were responsible for the pervasive and entrenched pattern of

         misconduct by the Niagara County Sheriff's Department ("NCSD") relating to utilizing force

         without justification, including the use of excessive force in effectuating arrests, including a failure

         of the Defendant NIAGARA COUNTY and SHERIFF FILICETTI to disciple officers that engage

         in misconduct, including the failure to discipline officers who use force without justification, and

         exonerating officers who use excessive force.

                 56.     Upon information and belief, at all timers hereinafter mentioned, ERIE COUNTY

         and/or SHERIFF FILICETTI were responsible for the supervision, administration, policy
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         practices, procedures and customs of the NCSD, and are responsible for the hiring, training,

         disciple and control of NCSD staff

                 57.     At all times hereinafter mentioned and in all their actions described herein,

         Defendants pursuant to the authority vested in the employees, servants and agents of NCSD, were

         acting under the color of that statutes, ordinances, regulations, policies, customs and usages of the

         NCSD and NIAGARA COUNTY and under color of state law.

                 58.     At all times hereinafter mentioned and in all their actions described herein, the

         employees, servants, agents and deputies of NCSD were acting within the scope of their

         employment and incidental to their otherwise lawful duties and functions.

                 59.     On or about the 18th day of September, 2022 at approximately 2:00 a.m., Plaintiff

         was operating a black 2020 GMC Yukon on Kentucky Street in the City of Buffalo, New York

         when an Erie County Sheriff Officer began pursuing him.

                 60.     Law enforcement officers, including Individual Defendants, from Defendants,

         ERIE COUNTY, ECSO, BUFFALO POLICE DEPARTMENT, LEWISTON POLICE

         DEPARTMENT, NCSD, NIAGARA FALLS POLICE DEPARTMENT, and New York State

         Police and New York State Park Police engaged in a high-speed and dangerous chase of Plaintiff

         through several streets in the City of Buffalo, Town of Cheektowaga, Town of Tonawanda, Town

         of Grand Island, Town of Niagara, Village of Lewiston and City of Niagara Falls.

                 61.     Defendants improperly and recklessly pursued Plaintiff in violation of their

          respective depai ment policies and the law in the high-speed pursuit and chase across multiple

          counties, including outside their respective jurisdictions.

                 62.     Defendants, including Deputy Villani, engaged in broadcasting and/or publishing

          of the investigation, pursuit, assault, and/or arrest of Plaintiff, or otherwise published such content.
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                    63.    Plaintiff attempted to surrender to Defendants in the Village of Lewiston, but as he

         attempted to do so, defendant police officers began violently striking the windows of the vehicle

         Plaintiff was in. Police officers had their handguns drawn and fired a shot through the window of

         vehicle Plaintiff occupied. A window in the vehicle being driven by Plaintiff was shattered as a

          result of the bullet hole and/or striking by Defendants. Due to Plaintiff fearing for his life as a

         result of Defendants' conduct when he attempted to surrender, he resumed driving through the

         Village of Lewiston and the City of Niagara Falls.

                    64.    Plaintiff came to a stop on Buffalo Avenue near Point Avenue and South 91st Street

          in Niagara Falls. Plaintiff exited the vehicle with his hands up, was unarmed and was fully

          complying with the order of officers.

                    65.    Defendants, DEPUTY NICHOLAS CERVONI, DEPUTY JUSTIN BAUER,

          DEPUTY          PAUL   KIEFFER,      DEPUTY      DAVID      LISKIEWICZ,       DEPUTY       ROBERT

          LAZARCYZK, DEPUTY KUHN, DEPUTY ELLIS, SERGEANT CHRISTOPHER SOLURI,

          POLICE OFFICER JONATHAN EMMONS, POLICE OFFICER JOSHUA BELIN, CAPTAIN

          MICHAEL SALADA, LIEUTENANT SEAN FUREY, DEPUTY JAMES VILLANI, DEPUTY

          JUSTIN SCHWARZMUELLER, DEPUTY MARYLYNN STEPHENSON, POLICE OFFICER

          ADAM MOEN, POLICE OFFICER MICHAEL A. KIDDER, JR., AND/OR JOHN DOE #1-20

          improperly pursued Plaintiff and in violation of their respective department's no-pursuit policy,

          then exited their police vehicle and violently tackled Plaintiff to the ground.

                    66.    After Plaintiff exited the vehicle which he was driving, at no point did he resist

          arrest.

                    67.    Defendants then excessively beat Plaintiff while he was on the ground, punching,

          striking, and kicking him repeatedly in the legs, arms, back, shoulders, neck and head. Plaintiff
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         was kicked in the face and head by Defendants, causing Plaintiff to suffer a concussion, fractured

         nose, disc herniations in neck, neck injuries, left shoulder injury, left arm injury, upper extremity

         injury, injuries to bilateral lower extremities, sprained right ankle, rib injuries, injury to sternum,

         injury to left eye/orbit and left cheek, face, head, injuries to teeth, injuries to both wrists, injuries

         to upper, middle, and lower back, soreness in kidneys, intense and frequent headaches, difficulty

         breathing, and emotional and mental injuries, including anxiety, among other serious injuries.

         Plaintiff was hospitalized as a result of these injuries.

                 68.     This action falls within one or more of the exceptions set forth in CPLR § 1602.

                   AS AND FOR A FIRST CAUSE OF ACTION AGAINST ALL DEFENDANTS,
                                        PLAINTIFF, ALLEGES:
                                   42 U.S.C. § 1983 AND THE FOURTH AMENDMENT
                              (Excessive Use of Force in Violation of the Fourth Amendment)
                 69.     On September 18, 2022, Defendants, DEPUTY NICHOLAS CERVONI, DEPUTY

          JUSTIN BAUER, DEPUTY PAUL KIEFFER, DEPUTY DAVID LISKIEWICZ, DEPUTY

          ROBERT LAZARCYZK, DEPUTY KUHN, DEPUTY ELLIS, SERGEANT CHRISTOPHER

          SOLURI, POLICE OFFICER JONATHAN EMMONS, POLICE OFFICER JOSHUA BELIN,

          CAPTAIN MICHAEL SALADA, LIEUTENANT SEAN FUREY, DEPUTY JAMES VILLANI,

          DEPUTY JUSTIN SCHWARZMUELLER, DEPUTY MARYLYNN STEPHENSON, POLICE

          OFFICER ADAM MOEN, POLICE OFFICER MICHAEL A. KIDDER, JR., AND/OR JOHN

          DOE #1-20 violated Plaintiff's right to be free from excessive force under the Fourth Amendment

          of the United States Constitution during their improper pursuit and arrest of him, when he did not

          pose an immediate threat to police or others and was not resisting arrest.




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                70.     Defendants improperly and recklessly pursued Plaintiff in violation of their

         respective department policies and the law in the high-speed pursuit and chase across multiple

         counties, including outside their respective jurisdictions.

                71.     The amount of force used was unnecessary and excessive.

                72.     The circumstances were not sufficiently tense, uncertain, or rapidly evolving to

         necessitate the amount of force used because before punching, striking, kicking, and assaulting the

         Plaintiff, Defendants DEPUTY NICHOLAS CERVONI, DEPUTY JUSTIN BAUER, DEPUTY

         PAUL KIEFFER, DEPUTY DAVID LISKIEWICZ, DEPUTY ROBERT LAZARCYZK,

         DEPUTY KUHN, DEPUTY ELLIS, SERGEANT CHRISTOPHER SOLURI, POLICE

         OFFICER JONATHAN EMMONS, POLICE OFFICER JOSHUA BELIN, CAPTAIN

         MICHAEL SALADA, LIEUTENANT SEAN FUREY, DEPUTY JAMES VILLANI, DEPUTY

         JUSTIN SCHWARZMUELLER, DEPUTY MARYLYNN STEPHENSON, POLICE OFFICER

         ADAM MOEN, POLICE OFFICER MICHAEL A. KIDDER, JR., AND/OR JOHN DOE #1-20

         (together, "Individual Defendants"), had tackled Plaintiff to the ground and had restrained

         Plaintiff, including having restrained Plaintiff's arms.

                 73.    Defendants excessively tackled, beat, struck, punched and kicked Plaintiff resulting

         in serious injuries detailed herein.

                 74.    Upon information and belief, the alleged incident herein described was caused as a

         result of the negligent, careless, reckless and unlawful conduct on the part of Defendants, ERIE

         COUNTY, ECSO, CITY OF BUFFALO, BPD, NIAGARA COUNTY, NCSD, CITY OF

         NIAGARA FALLS, NFPD, VILLAGE OF LEWISTON, TOWN OF LEWISTON and/or LPD

         (together, "Municipal Defendants"), who among other things, failed and omitted to properly train

         and supervise its police officers, and negligently hiring the Individual Defendants, respectively.
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                 75.      Upon information and belief, on or about the 12th day of January, 2023, the

         Individual Defendants while acting under color of authority of the State of New York as members

         of the respective Municipal Defendants, and in their official capacity as a Police Officers, caused

         serious injury to Plaintiff, BRANDON BAUMEISTER, while depriving him of his rights and

         privileges, causing serious injury, as secured and protected by the Constitution and laws of the

         United States, namely:

                       a. the constitutional right to be free from unlawful arrest, detainment and seizure,

                       b. the right to be secure and safe in his person during the course of being in custody

                          of law enforcement officials,

                       c. and the privileges and immunities guaranteed to every citizen of the United States,

         including Plaintiff, BRANDON BAUMEISTER, by United States Constitution Amendments 4,

         5, 8 and 14 and in violation of 42 U.S.C. §1983 by the use of unlawful, unnecessary and

         excessive use of force against Plaintiff.


                 76.      As a result of the alleged incident, Plaintiff, BRANDON BAUMEISTER sustained

         serious injuries as set forth above.

                 77.       Defendants violated rights held by Plaintiff which are clearly established, and no

         reasonable official similarly situated as Defendants could have believed that such conduct was

          lawful or within the bounds of reasonable discretion. Therefore, Defendants lack qualified or

          statutory immunity from suit or liability.

                 78.       Defendants' use of force was unreasonable and shocked the conscious.

                 79.       The actions of Defendants, as described herein, were malicious, deliberate,

          intentional, and embarked upon with the knowledge of, or in conscious disregard of, the harm that

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         would be inflicted upon Plaintiff As a result of this intentional conduct, Plaintiff, is entitled to

         punitive damages against Defendants, in an amount sufficient to punish them and to deter others

         from similar conduct.

                     80.   Plaintiff was required to hire attorneys to represent them in this matter and is thus

         entitled to an award of reasonable attorney's fees and costs pursuant to 42 U.S.C. § 1988.

                     81.   At no point during the incidents described herein did the circumstances necessitate

         or support the above applications of force utilized by the Defendants against Plaintiff As a result,

         Plaintiff was damaged, harmed and injured, and seeks compensation in an amount to be determined

         at trial.

                     AS AND FOR A SECOND CAUSE OF ACTION AGAINST ALL DEFENDANTS,
                                          PLAINTIFF, ALLEGES:
                                              (Assault under New York State Law)
                     82.   Plaintiff repeats, reiterates, and re-alleges each and every allegation contained in

         the above paragraphs with the same force and effect as if fully set forth herein.

                     83.   The Individual Defendants excessively tackled, beat, struck, punched and kicked

         Plaintiff, resulting in a concussion, fractured nose, disc herniation in neck, upper extremity injury,

         injuries to bilateral lower extremities, rib injuries, injury to sternum, damage to left eye, injury to

         left orbit and left cheek, back injury, soreness in kidneys, intense and frequent headaches, difficulty

         breathing, difficulty sleeping, and extensive scraping and bruising of his face, head, upper

          extremity, back and arms.

                     84.   The Individual Defendants intended to either to inflict personal injury or to arouse

         apprehension of harmful or offensive bodily contact.




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                85.     As a direct and proximate cause of the actions described herein, Plaintiff sustained

         economic and noneconomic damages, including physical pain and suffering; loss of liberty;

         damage and/or loss of property, all to an amount to be ascertained according to proof at trial.

                86.     The Municipal Defendants are vicariously liable for the actions of their respective

         employees under the theory of respondeat superior.

                87.     The actions of Defendants, as described herein, were malicious, deliberate,

         intentional, and embarked upon with the knowledge of, or in conscious disregard of, the harm that

         would be inflicted against Plaintiff. As a result of this intentional unlawful conduct, Plaintiff is

         entitled to punitive damages against Defendants, in an amount sufficient to punish them and to

         deter others from similar conduct.

                88.     Defendants' use of force was unreasonable and shocked the conscious.

                89.      Plaintiff was required to hire attorneys to represent them in this matter and is thus

         entitled to an award of reasonable attorney's fees and costs pursuant to 42 U.S.C. § 1988.

                   AS AND FOR A THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS,
                                       PLAINTIFF, ALLEGES:
                                              (Battery under New York State Law)
                 90.     Plaintiff repeats, reiterates, and re-alleges each and every allegation contained in

         the above paragraphs with the same force and effect as if fully set forth herein.

                 91.     The Individual Defendants excessively tackled, beat, punched and kicked Plaintiff,

         resulting in a concussion, fractured nose, disc herniation in neck, upper extremity injury, injuries

         to bilateral lower extremities, rib injuries, injury to sternum, damage to left eye, injury to left orbit

         and left cheek, back injury, soreness in kidneys, intense and frequent headaches, difficulty




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         breathing, difficulty sleeping, and extensive scraping and bruising of his face, head, upper

         extremity, back and arms.

                92.     The Individual Defendants intentionally made bodily contact with Plaintiff, the

         intended contact was itself offensive and was without the consent of Plaintiff.

                93.     As a direct and proximate cause of the actions described herein, Plaintiff sustained

         economic and noneconomic damages, including physical pain and suffering; loss of liberty;

         damage and/or loss of property, all to an amount to be ascertained according to proof at trial.

                94.     The actions of Defendants, as described herein, were malicious, deliberate,

         intentional, and embarked upon with the knowledge of, or in conscious disregard of, the harm that

         would be inflicted against Plaintiff As a result of this intentional conduct, Plaintiff is entitled to

         punitive damages against Defendants, in an amount sufficient to punish them and to deter others

         from similar conduct.

                95.     Defendants' use of force was unreasonable and shocked the conscious.

                96.     The Municipal Defendants are vicariously liable for the actions of their respective

         employees under the theory of respondeat superior.

                97.     Plaintiff was required to hire attorneys to represent them in this matter and is thus

         entitled to an award of reasonable attorney's fees and costs pursuant to 42 U.S.C. § 1988.

                 AS AND FOR A FOURTH CAUSE OF ACTION AGAINST ALL DEFENDANTS,
                                      PLAINTIFF, ALLEGES:
                                 (Failure to Intervene to Prevent Unconstitutional Conduct)
                 98.    Plaintiff repeats, reiterates and realleges each and every allegation contained in

         paragraphs above of this Complaint with the same force and effect as if fully set forth herein.




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                 99.    Defendants violated their affirmative duty to protect Plaintiff's constitutional rights

         from infringement by other present law enforcement officers.

                 100.   Defendants failed to intervene when each Individual Defendant unreasonably

         assaulted, committed battery, used excessive force, police brutality, were negligent, abused

         process, violated claimant's Civil Rights under 42 U.S.C. § 1983, and did not intervene, despite

         having a realistic opportunity to prevent the harm.

                 101.   Upon information and belief, on or about the 18th day of September, 2022, more

         police officers arrived at the scene. The deprivation of rights was knowable to officers who later

         arrived at the scene. Defendants assumed an affirmative duty to act on behalf of injured Plaintiff

                 102.   Defendants who were witness to the violations failed to intervene on Plaintiffs

         behalf to despite having had realistic opportunities to do so.

                 103.   Said Defendants failed to intervene on Plaintiff's behalf despite having

         substantially contributed to the circumstances within which Plaintiff's rights were violated by their

         affirmative conduct.

                 104.   As a result of the aforementioned conduct of Defendants, Plaintiffs constitutional

         rights were violated.

                 105.   Defendants' conduct was unreasonable and shocked the conscious.

                 106.   The Municipal Defendants are vicariously liable for the actions of their respective

          employees under the theory of respondeat superior.

                 107.   As a result of the foregoing, Plaintiff seeks an award of general, special, and

          punitive damages in an amount that exceeds the jurisdictional limits of all lower courts which

          would otherwise have jurisdiction, and an award of attorney's fees and costs.


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                 AS AND FOR A FIFTH CAUSE OF ACTION AGAINST DEFENDANTS,
                                             PLAINTIFF ALLEGES:
                       (Monell Claim-Municipal Liability Pursuant to 42 U.S.C. Section 1983)
                                 MUNICIPAL AND SUPERVISORY LIABILITY
                108.     Repeats, reiterates and realleges each and every allegation contained in the above

         paragraphs with the same force and effect as fully set forth herein.

                109.     A municipality, such as ERIE COUNTY (including the ECSO and SHERIFF

         GARCIA), CITY OF BUFFALO, BPD, NIAGARA COUNTY (including the NCSD and

         SHERIFF FILICETTI), CITY OF NIAGARA FALLS, NFPD, VILLAGE OF LEWISTON,

         TOWN OF LEWISTON and/or LPD, may be held liable under § 1983 when its official policies

         or customs violate the Constitution. Monell v. Dep't of Soc. Servs., 436 U.S. 658, 690-91, 98 S.Ct.

         2018, 56 L.Ed.2d 611 (1978).

                110.     Defendants ERIE COUNTY, SHERIFF GARCIA, CITY OF BUFFALO, BPD,

         NIAGARA COUNTY, SHERIFF FILICETTI, CITY OF NIAGARA FALLS, NFPD, VILLAGE

         OF LEWISTON, TOWN OF LEWISTON and/or LPD, respectively, established, condoned,

         ratified, and/or encouraged customs, policies, patterns, and practices that directly and proximately

         caused the deprivation of the civil and constitutional rights of Plaintiff, and the damages and

         injuries described herein. They did so with deliberate indifference to the rights of the detainee and

         had actual and/or constructive knowledge of the pervasive and widespread practice of police use

         of excessive force for many years yet failed to do anything to end the practice. These written and

         unwritten policies, customs, patterns, and practices included:

                    a. Permitting police officers employing excessive force while effectuating arrests and

                         during non-arrest interactions with individuals and thereafter charging the victim


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                       with "cover charges" such as "resisting arrest" and "disorderly conduct" to hide the

                       excessive use of force by officers;

                  b. Failing to train its officers regarding the constitutional rights of arrestees to be free

                       from excessive force and to provide medical attention and treatment if necessary;

                  c.   Permitting police employing excessive force while effectuating arrests and during

                       non-arrest interactions with individuals to use excessive force in the absence of any

                       objective circumstances presented to them that could support the application of

                       such force;

                  d. Failing to discipline officers that have repeatedly used force without justification;

                  e.   Failing to train officers to de-escalate encounters with the public and/or to

                       intervene during an arrest;

                  f. Failing to investigate and reviewing use-of-force incidents and/or "cover charges";

                  g. Failing to properly supervise and monitor police responsible for effectuating

                       arrests, and/or monitoring detainees;

                  h. Failing to properly screen, during the hiring process, and supervise thereafter,

                       police to eliminate excessive force.

                  i. Inadequately training officers to effectuate arrests without unnecessary force and/or

                       intervene when excessive force is being deployed;

                  j.   Failing to have in place, or failing to follow, a policy or procedure to prevent

                       officers from filing "cover charges" in order to cover up excessive force during an

                       arrest;

                  k. Retaining the officer(s), when they knew or should have known of his/her

                       propensity to abuse his/her position of authority as an officer;
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                     1.   Failing to train officers in the high-speed pursuit of a suspect;

                     m. Failing to properly follow policies and laws regarding the high-speed pursuit of a

                          suspect across multiple towns, cities, and counties;

                     n. Failing to train officers in the cross jurisdictional pursuit of a suspect;

                     o. Failing to train officers to restrain from broadcasting or publishing an ongoing or

                          completed police investigation, pursuit, or arrest, or otherwise publishing such

                          content;

                     p. Failing to train its officers in the firing of a weapon at an unarmed individual;

                 111.     Upon information and belief when the Individual Defendants tackled, beat, struck,

         punched and kicked Plaintiff, resulting in severe injuries, they were acting pursuant to the custom,

         practice, and/or policy of their respective employers and/or supervisors, including Defendants

         ERIE COUNTY, SHERIFF GARCIA, CITY OF BUFFALO, BPD, NIAGARA COUNTY,

         SHERIFF FILICETTI, CITY OF NIAGARA FALLS, NFPD, VILLAGE OF LEWISTON,

         TOWN OF LEWISTON and/or LPD, which condone use of force without justification.

                 112.     Upon information and belief, Defendants ERIE COUNTY, SHERIFF GARCIA,

         CITY OF BUFFALO, BPD, NIAGARA COUNTY, SHERIFF FILICETTI, CITY OF NIAGARA

         FALLS, NFPD, VILLAGE OF LEWISTON, TOWN OF LEWISTON and/or LPD's custom,

         practice, and/or policy on condoning police misconduct by their respective deputies and officers

          directly and proximately resulted in the Plaintiff being assaulted, battered, subjected to excessive

          force, and charged with crimes he did not commit in an attempt to justify Defendants unlawful

          actions.




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                    113.   At all relevant times, Defendants acted unreasonably and with deliberate

         indifference and disregard for the constitutional and civil rights of plaintiff The actions of the

         Defendants were malicious, willful, wanton and reckless.

                    114.   The failure by the Municipal Defendants, including Sheriff Garcia and Sheriff

         Filicetti, among others, to supervise, train, or discipline personnel was so obvious that the failure

         to do so amounted to a policy of "deliberate indifference."

                    115.   Upon information and belief, the Municipal Defendants, including Sheriff Garcia

         and Sheriff Filicetti, know "to a moral certainty" that their respective employees will confront

         situations such as that which underlies these claims. Defendants are aware that their respective

         employees will, at times, become engaged in automobile pursuits of suspects and that their

         respective employees will, at times, have occasion to apprehend and arrest suspects. The situations

         necessarily result in "difficult choices", the type for which appropriate training will assist in

         making the proper choices less difficult.          High-speed chases outside of their respective

         jurisdictions and violent apprehensions of suspects "will frequently cause a constitutional

         deprivation."

                    116.   Each of the respective Municipal Defendants were on notice prior to the notice that

         their employees have routinely used inappropriate and unnecessary force in the apprehension of

          suspects.

                    117.   Such acts as alleged herein were the proximate cause of injury and damage to the

          Plaintiff

                    118.   As a result of the above constitutionally impermissible conduct, Plaintiff suffered

          violations of their civil rights, emotional distress, anguish, anxiety, fear, humiliation, and physical

          injury.
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                 119.    Accordingly, Plaintiff demands judgment against Defendants for compensatory and

         equitable, including costs and fees, to be determined at trial.

                        AS AND FOR A SIXTH CAUSE OF ACTION AGAINST DEFENDANTS,
                                           PLAINTIFF, ALLEGES:
             (42 U.S.C. § 1983- Supervisory Liability for Deprivation of Rights under the United States

                                                     Constitution)


                 120.    Plaintiff re-alleges each and every allegation contained in the above paragraphs

         with the same force and effect as if fully set forth herein.

                 121.    By failing to remedy the wrongs committed by their subordinates, in failing to

         properly train, screen, supervise, or discipline their subordinates, and by personally participating

         in the constitutional injuries as set forth elsewhere herein, Defendants SHERIFF GARCIA,

          SHERIFF FILICETTI, and the supervisory officer Defendants included among Defendants

         "JOHN DOES #1-20," the names being unknown but whom are intended to be supervisors of the

          Municipal Defendants, each violated Plaintiffs rights under the United States Constitution,

          through 42 U.S.C. §1983.

                 122.    At all relevant times, Defendants acted unreasonably and with deliberate

          indifference and disregard for the constitutional and civil rights of plaintiff. The actions of the

          Defendants were malicious, willful, wanton and reckless.

                 123.    As a result of the foregoing, Plaintiff was deprived of their liberty and other

          constitutional rights, suffered bodily injury, pain and suffering, psychological and emotional

          injury, costs, and expenses, and were otherwise damaged and injured.




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                AS AND FOR A SEVENTH CAUSE OF ACTION AGAINST ALL DEFENDANTS,
                                      PLAINTIFF ALLEGES:
                                          (Negligence)

                124.     Repeats, reiterates and realleges each allegation contained in the above paragraphs

         with the same force and effect as if fully set forth herein.

                 125.    Upon information and belief, the alleged incident hereinbefore described, and the

         resultant injuries were caused as the result of the negligence, carelessness, recklessness, and

         unlawful conduct on the part of the Defendants, upon the breach of Defendants' duty to follow

         policies and procedures and Defendants negligently failing to apply training and failing to

         supervise its officers, employees, and agents. The Defendants acted with reckless disregard in

         causing Plaintiffs injuries.

                 126.    As a result of the foregoing, the Plaintiff sustained general and special damages in

         an amount which exceeds the jurisdictional limits of all lower courts which would otherwise have

         jurisdiction.

                 127.    Defendants' conduct was unreasonable and shocked the conscious.

                 128.    The Municipal Defendants are vicariously liable for the actions of their respective

         employees under the theory of respondeat superior.

                 129.    Plaintiff was required to hire attorneys to represent him in this matter and is thus

         entitled to an award of reasonable attorney's fees and costs pursuant to 42 U.S.C. § 1988.




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                   WHEREFORE, Plaintiff asks this Court to GRANT the following relief:
                   Compensatory, special, and equitable damages in an amount that exceeds the jurisdictional

         limits of all lower courts that would otherwise have jurisdiction; Award attorneys' fees and costs

         pursuant to 42 U.S.C. §§1983 and 1988; Punitive damages; and for such other, further, or different

         relief as the Court may deem just and proper, together with the costs and disbursements of the

         action.


         DATED:           Buffalo, New York
                          September \ If , 2023
                                                                 LIPSITZ GREEN SCIME CAMBRIA LLP

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